                 Case 2:11-cr-00216-JAM Document 86 Filed 08/15/13 Page 1 of 3


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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-216-MCE

12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER

14   TIFFANY TUNG,

15                                 Defendant.

16
17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant

19 TIFFANY TUNG, by and through her counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on August 15, 2013. One defendant,

21 Damion Edgerson, has pled guilty, was sentenced, and is projected to be released from federal custody
22 on August 18, 2013. Defendants Ray and Thomas, who were named in the first superseding indictment

23 in 2012, are scheduled for a trial confirmation hearing on September 5, 2013 with trial scheduled for

24 October 7, 2013. Defendant Tung was added in the second superseding indictment in March 2013.
25          2.      By this stipulation, defendant Tiffany Tung now moves to continue the status conference

26 until September 12, 2013, and to exclude time between August 15, 2013, and September 12, 2013 under
27 Local Code T4. Plaintiff does not oppose this request.

28          3.      The parties agree and stipulate, and request that the Court find the following:

      STIPULATION AND ORDER                              1
              Case 2:11-cr-00216-JAM Document 86 Filed 08/15/13 Page 2 of 3


 1                a)     Discovery has been made available in this case. Recently, the government

 2       provided early Jencks material of statements made by others related to the defendant’s criminal

 3       liability in this fraud and other potential instances of fraud.

 4                b)     Counsel for defendant desires additional time to review that Jencks material and

 5       to consult with his client, to discuss potential resolutions with his client, and to otherwise prepare

 6       for trial.

 7                c)     Counsel for defendant believes that failure to grant the above-requested

 8       continuance would deny him the reasonable time necessary for effective preparation, taking into

 9       account the exercise of due diligence.

10                d)     The government does not object to the continuance.

11                e)     Based on the above-stated findings, the ends of justice served by continuing the

12       case as requested outweigh the interest of the public and the defendant in a trial within the

13       original date prescribed by the Speedy Trial Act.

14                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15       et seq., within which trial must commence, the time period of August 15, 2013, to September 12,

16       2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17       T4] because it results from a continuance granted by the Court at defendant’s request on the basis

18       of the Court's finding that the ends of justice served by taking such action outweigh the best

19       interest of the public and the defendant in a speedy trial.

20       4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

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     STIPULATION AND ORDER                              2
               Case 2:11-cr-00216-JAM Document 86 Filed 08/15/13 Page 3 of 3


 1 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 2 must commence.
 3          IT IS SO STIPULATED.

 4 Dated: August 13, 2013                                     BENJAMIN B. WAGNER
                                                              United States Attorney
 5
 6                                                            /s/ Matthew G. Morris
                                                              MATTHEW G. MORRIS
 7                                                            Assistant United States Attorney

 8
     Dated: August 13, 2013                                   /s/ Robert Byers (auth. by phone on 8/13/13)
 9                                                            ROBERT BYERS
                                                              Counsel for Defendant
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12
                                                       ORDER
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            IT IS SO FOUND AND ORDERED. The status conference currently scheduled for August 15,
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     2013, is vacated and continued to September 12, 2013, at 9 a.m. in Courtroom 7. The time period
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     between August 15, 2013, and September 12, 2013 is excluded under Local Code T4. The Court finds
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     that that the ends of justice served by granting the requested continuance outweigh the best interest of
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     the public and the defendant in a speedy trial.
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            IT IS SO ORDERED.
19
     Dated: August 14, 2013
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      STIPULATION AND ORDER                               3
